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              IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


UNITED STATES OF AMERICA,

V.                                             Case No.      CR417-262


DEONTE YOUNG,
                  Defendant.




       Stan K. Fitzgerald counsel of record for defendant Deonte

Young in the above-styled case has moved for leave of absence.             The

Court is mindful that personal and professional obligations require

the   absence   of counsel on    occasion.   The   Court,   however,   cannot

accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

       Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



       so ORDERED    this        day of August 2018.




                                    WILLIAM T. MOORE             JUDGE
                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF GEORGIA
